

People v Parker (2022 NY Slip Op 00384)





People v Parker


2022 NY Slip Op 00384


Decided on January 25, 2022


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: January 25, 2022

Before: Gische, J.P., Mendez, Rodriguez, Pitt, JJ. 


Ind. No. 514/08 Appeal No. 15143 Case No. 2019-04833 

[*1]The People of The State of New York, Respondent, 
vLawrence Parker, Defendant-Appellant.


Caprice R. Jenerson, Office of the Appellate Defender, New York (Stephen R. Strother of counsel), for appellant.
Darcel D. Clark, District Attorney, Bronx (Daniela M. Parra of counsel), for respondent.



An appeal having been taken to this Court by the above-named appellant from a judgment of the Supreme Court, Bronx County (Ralph Fabrizio, J.), rendered June 19, 2019,
Said appeal having been argued by counsel for the respective parties, due deliberation having been had thereon, and finding the sentence not excessive,
It is unanimously ordered that the judgment so appealed from be and the same is hereby affirmed.
THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: January 25, 2022
Counsel for appellant is referred to
§ 606.5, Rules of the Appellate Division,
First Department.








